 S. LANE TUCKER
 United States Attorney

 WILLIAM A. TAYLOR
 Assistant U.S. Attorney
 Federal Building & U.S. Courthouse
 222 West Seventh Avenue, #9, Room 253
 Anchorage, AK 99513-7567
 Phone: (907) 271-5071
 Email: william.taylor@usdoj.gov

 Attorneys for Plaintiff

                      IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF ALASKA

 UNITED STATES OF AMERICA,

                      Plaintiff,

        vs.                                      No. 3:24-cr-00099-SLG-KFR
 PANOS ANASTASIOU,

                      Defendant.


              NOTICE OF INTENT TO SEEK DETENTION HEARING

       Comes now the United States of America and advises this Court that it will move

for a hearing to determine whether the defendant should be detained pending trial. A

hearing is appropriate because the case involves:

   • A serious risk that the defendant will flee, because he has a demonstrated history of

       disregard for the authority of federal courts and will be unlikely to obey court orders.

       18 U.S.C. § 3142(f)(2)(A).

   • A serious risk that the defendant will obstruct or attempt to obstruct justice, or




       Case 3:24-cr-00099-SLG-KFR Document 5 Filed 09/18/24 Page 1 of 5
            threaten, injure, or intimidate, or attempt to threaten, injure, or intimidate, a

            prospective witness or juror, because he exposes a persistent and obsessive desire

            to cause harm to his victims and encourage others to harm the victims as well.

            18 U.S.C. § 3142(f)(2)(B).



            I.       Background

            The defendant in this case has been indicted for threating to assault, kidnap, and

murder six Justices of the United States Supreme Court and some of their family members.

He began sending concerning messages to the United States Supreme Court in the spring

of 2023. The United States Supreme Court Police reviewed the messages and deemed them

concerning enough to warrant an investigation. FBI agents in Anchorage assisted in

contacting the defendant to discuss the messages. After this contact, the defendant sent a

message to the Supreme Court referencing the FBI interview and “daring” the Justices to

personally visit his house.

            The messages continued throughout 2023 and then took an even more violent turn

in January 2024. Excepts from some of the messages include:

            January 4, 2024: “I’d like to see [Former President 1 and Supreme Court
            Justice 1] hanging together from an Oak tree. I’d gladly provide the rope and
            pull the handle.”

            May 10, 2024: “Subject: N***** [Supreme Court Justice 1]”, “I’d like to
            see you have a real lynching and I’ll donate the tree and pull the lever… you
            worthless piece of n***** shit.”1

            May 16, 2024: “I would have had NO reservations about walking up to

1
    Partial redaction not in the original.
U.S. v. Anastasiou
3:24-cr-00099-SLG-KFR
                                             Page 2 of 5
            Case 3:24-cr-00099-SLG-KFR Document 5 Filed 09/18/24 Page 2 of 5
       [Supreme Court Justice 2] and not asking him to take it down but to put a
       BULLET in this mother fuckers head.”

       May 17, 2024: “I’m going to call and urge my fellow Vietnam veterans… to
       drive by the [Supreme Court Justice 2]’s house with their AR15’s and when
       fucking [Supreme Court Justice 2] and his fucking PIECE OF SHIT CUNT
       WIFE are HOME spray the home of these disrespectful mother fuckers with
       hundreds of rounds… hopefully killing these SCUMBAG
       COCKSUCKERS. Hopefully N***** [Supreme Court Justice 1] and his
       white trailer trash n***** loving insurrectionist wife are visiting.”

       June 18, 2024: “I don’t want to see these two corrupt mother fuckers
       assassinated… I’d like to see them TORTURED worse than Kim Jung Un
       would torture his own family. You know, like putting electrodes up their ass
       and on their balls, needles under their finger nails, pulling their teeth with
       pliers, etc etc. Make these SCUMBAGS beg for their lives.”

       July 1, 2024: “ASSASSINATING THESE COCKSUCKERS IS THE
       ONLY PANACEA… that includes the CONVICTED CRIMINAL, [Former
       President 1]. Again as an AMERICAN and to defend the constitution and
       democracy I want the assassinations by any ENTITY of the government or
       even a PATRIOTIC AMERICAN to commence. And PLEASE start with the
       assassination of the N***** and HERMAPHRODITE. As a Vietnam veteran
       and if I had the means and way I’d assassinate them myself. These fuckers
       are NOT ABOVE THE LAW.”

       July 3, 2024: “WE NEED MASS ASSASSINATIONS. If you’re corrupt
       you’re corrupt… don’t give us this official and unofficial bullshit. You
       mother fuckers are UNELECTED and Americans have no trust in you. The
       internet is abuzz with Americans clamoring for your ASSASSINATIONS.
       We need to assassinate you fuckers and put your heads on a pike and use
       them as soccer balls. I want to be the first to kick [Supreme Court Justice 6]
       head down Pennsylvania Ave. You don’t want to ask me what I’d like to do
       to the N***** and [Supreme Court Justice 2].”

       July 5, 2024: “We should make [Supreme Court Justices 1-6] be AFRAID
       very AFRAID to leave their home and fear for their lives everyday.”

       The defendant repeatedly threatens “lynching” and encouraging others to participate

in violence against the Supreme Court, including that assassination is “patriotic”. He also

pleads for the messages to be sent directly to the victims themselves.
U.S. v. Anastasiou
3:24-cr-00099-SLG-KFR
                                        Page 3 of 5
       Case 3:24-cr-00099-SLG-KFR Document 5 Filed 09/18/24 Page 3 of 5
       II.    Factors in Support of Detention

              a. Nature and Circumstances of the Offense

       The defendant’s threats are extreme and repeated. His racist, homophobic, vile

rhetoric is meant to intimidate high level government officials from carrying out their

official duties. He threatens their family members as well, and continued and escalated his

behavior even after he was visited by the FBI.

              b. Weight of the Evidence

       The evidence of guilt is overwhelming. The defendant has admitted to sending the

messages, the IP information leads to his house, and the email address contains the

defendant’s name.

              c. History and Characteristics of the Person

       The defendant has a history of threatening public officials, similar threats sent to the

governor of another state. It is notable that the defendant increased his violent rhetoric even

after the FBI visited him at his home. In one message he made clear his disdain for federal

judges in general saying, “one of the reasons I have such profound contempt for federal

judges is based upon my own experience with the Ninth Circuit.” This creates doubt as to

whether he will follow any conditions imposed on him by a federal judge.

              d. Nature and Seriousness of the Danger Posed to Any Person or
                 Community

       The defendant poses a risk of continuing to threaten federal officials, including the

victims who witnessed his offense, if released into the community. There is also a danger

he may wish to carry out some form of violence towards those he has previously threatened,

U.S. v. Anastasiou
3:24-cr-00099-SLG-KFR
                                         Page 4 of 5
       Case 3:24-cr-00099-SLG-KFR Document 5 Filed 09/18/24 Page 4 of 5
or those who he has political or personal disagreements with. In the past he showed that he

held the victims in this case personally responsible for the FBI contacting him.




RESPECTFULLY SUBMITTED September 18, 2024 at Anchorage, Alaska.

                                               S. LANE TUCKER
                                               United States Attorney

                                               /s William A. Taylor
                                               WILLIAM A. TAYLOR
                                               Assistant United States Attorney
                                               United States of America

 CERTIFICATE OF SERVICE

 I hereby certify that on September 18, 2024
 a true and correct copy of the foregoing
 was served electronically on all counsel of
 record.

 /s William A. Taylor




U.S. v. Anastasiou
3:24-cr-00099-SLG-KFR
                                        Page 5 of 5
       Case 3:24-cr-00099-SLG-KFR Document 5 Filed 09/18/24 Page 5 of 5
